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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                  Plaintiff,

          v.                                                        Case No. 93-cr-40032-JPG

 ANTHONY GARRETT,

                  Defendant.

                                   MEMORANDUM AND ORDER

         This matter comes before the Court on defendant Anthony Garrett’s motion for

compassionate release pursuant to the First Step Act of 2018, Pub. L. No. 115-391, § 603(b)(1), 132

Stat. 5194, 5239 (2018) (codified at 18 U.S.C. § 3582(c)(1)(A)) (Doc. 201). The Government has

responded (Docs. 205-07), and Garrett has replied to that response (Doc. 210).

I.       Compassionate Release

         The First Step Act expanded the existing compassionate release provisions of federal law by

opening the door for a defendant to move for compassionate release rather than only allowing the

Director of the Bureau of Prisons (“BOP”) to so move. First Step Act, § 603(b)(1) (codified at 18

U.S.C. § 3582(c)(1)(A)); United States v. Gunn, 980 F.3d 1178, 1179 (7th Cir. 2020). The relevant

portion of the law provides:

         (c) Modification of an imposed term of imprisonment.—The court may not modify a
         term of imprisonment once it has been imposed except that—
                (1) in any case—
                        (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
                        motion of the defendant after the defendant has fully exhausted all
                        administrative rights to appeal a failure of the Bureau of Prisons to bring a
                        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
                        such a request by the warden of the defendant’s facility, whichever is earlier,
                        may reduce the term of imprisonment (and may impose a term of probation
                        or supervised release with or without conditions that does not exceed the
                        unserved portion of the original term of imprisonment), after considering the
                        factors set forth in section 3553(a) to the extent that they are applicable, if it
                        finds that—
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                              (i) extraordinary and compelling reasons warrant such a reduction. . .
                       and that such a reduction is consistent with applicable policy statements
                       issued by the Sentencing Commission. . . .

18 U.S.C. § 3582(c)(1)(A).

        As for the final clause, there is no applicable Sentencing Commission policy statement

regarding motions for compassionate release filed by defendants. Gunn, 980 F.3d at 1180. The

existing compassionate release policy statement, United States Sentencing Guidelines Manual

(“U.S.S.G.”) § 1B1.13, applies only to motions filed by the BOP, not defendants themselves, “[a]nd

because the Guidelines Manual lacks an applicable policy statement, the trailing paragraph of

§ 3582(c)(1)(A) does not curtail a district judge’s discretion.” Id. Nevertheless, the substantive

aspects of U.S.S.G. § 1B1.13 provide a “working definition” of “extraordinary and compelling

reasons” that should guide the Court’s discretion without strictly confining it. Id. A court that

“strikes off on a different path risks an appellate holding that judicial discretion has been abused.”

Id. Additionally, the Court should give substantial weight to the BOP’s analysis regarding

“extraordinary and compelling reasons” in any particular case. Id.

        So the Court looks to U.S.S.G. § 1B1.13 for guidance. That policy statement adds the

provision requirement that the defendant not be a danger to the safety of any other person or to the

community. U.S.S.G. § 1B1.13(2).1 The application notes further define “extraordinary and

compelling reasons” to include, as relevant for this case:

        (A)    Medical Condition of the Defendant.—
               (i)   The defendant is suffering from a terminal illness (i.e., a serious and
                     advanced illness with an end of life trajectory). A specific prognosis of life
                     expectancy (i.e., a probability of death within a specific time period) is not
                     required. Examples include metastatic solid-tumor cancer, amyotrophic
                     lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.
               (ii)  The defendant is—
                     (I)      suffering from a serious physical or medical condition,

1
 This provision is similar, but not identical, to 18 U.S.C. § 3553(a)(2)(C), which requires the Court
to consider the need for the sentence “to protect the public from further crimes of the defendant.”
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                       (II)    suffering from a serious functional or cognitive impairment, or
                       (III)   experiencing deteriorating physical or mental health because of the
                               aging process,
                       that substantially diminishes the ability of the defendant to provide self-care
                       within the environment of a correctional facility and from which he or she is
                       not expected to recover.

        (B)    Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
               experiencing a serious deterioration in physical or mental health because of the aging
               process; and (iii) has served at least 10 years or 75 percent of his or her term of
               imprisonment,

        ***

        (D)    Other Reasons.—As determined by the Director of the Bureau of Prisons, there
               exists in the defendant’s case an extraordinary and compelling reason other than, or
               in combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13 cmt. n. 1.

        Thus, for a defendant to be eligible for compassionate release he must have exhausted his

administrative remedies,2 and the Court must find that (1) extraordinary and compelling reasons for

release exist, and (2) considering the applicable factors in 18 U.S.C. § 3553(a), the extraordinary

and compelling reasons warrant release. 18 U.S.C. § 3582(c)(1)(A). The movant bears the burden

of making such a showing, and the Court has discretion to determine whether the defendant

satisfied that burden. United States v. Newton, No. 20-2893, 2021 WL 1747898, *2 (7th Cir. May

4, 2021); Gunn, 980 F.3d at 1180. The Court uses U.S.S.G. § 1B1.13 cmt. n. 1 to guide its

discretion in this regard and should give great weight to the BOP’s analysis regarding

“extraordinary and compelling reasons,” if it has given any such analysis. Gunn, 980 F.3d at 1180.

The Court now turns to the specifics of the defendant’s case.

II.     Analysis

        On November 17, 1993, a jury found Garrett guilty of conspiring to distribute and possess


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 The exhaustion requirement is not jurisdictional and may be waived by the Government. Gunn,
980 F.3d at 1179.
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with intent to distribute crack cocaine and of using and carrying a firearm during and in relation to a

drug trafficking crime (Doc. 64). Using the 1993 Sentencing Guidelines Manual, the Court

determined Garrett’s relevant conduct was at least 500 grams but less than 1.5 kilograms of crack

cocaine, resulting in a base offense level of 36.3 His offense level was reduced by two points under

U.S.S.G. § 3B1.2(b) because he was a minor participant in the offense, yielding a total offense level

of 34. However, the Court further found that Garrett was a career offender under U.S.S.G. § 4B1.1

based on prior violent felony convictions, which raised his total offense level to 37. Considering

Garrett’s criminal history category of VI, established by his career offender status under U.S.S.G.

§ 4B1.1, this yielded a sentencing range of 360 months to life in prison for the conspiracy count.

        The Court (District Judge James L. Foreman) imposed a sentence of 360 months for the

conspiracy count plus a mandatory 120-month consecutive sentence for the firearm count, for a total

sentence of 480 months (Doc. 87 & 91).4 In sentencing Garrett, the Court considered his health

condition as set forth in the presentence investigation report (“PSR”), including a possible history of

cardiac problems, hemoptysis (coughing up blood), substance abuse, and bronchitis. The Court of

Appeals affirmed that sentence. United States v. Garrett, 45 F.3d 1135 (7th Cir.), cert. denied, 514

U.S. 1134 (1995).

        Garrett completed his term of incarceration and began his term of supervised release on July

19, 2019. On February 5, 2020, Garrett admitted to violations alleged in a petition to revoke his

supervised release. The Court granted the petition and sentenced him to serve 24 months in prison.

Garrett is scheduled to be released on October 4, 2021. See https://www.bop.gov/inmateloc.


3
  This relevant conduct would have led to a lower based offense level in light of retroactive
amendments to the Sentencing Guidelines, but those changes made no difference to Garrett’s
ultimate sentence because of his career offender status (Docs. 157, 176, & 179).
4
  The Court later vacated the sentence and conviction on Count 2 pursuant to 28 U.S.C. § 2255 in
light of Bailey v. United States, 516 U.S. 137 (1995). The 360-month sentence on Count 1
remained unchanged (Doc. 123).
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       Garrett, now 64 years old, asks the Court for immediate compassionate release in light of the

COVID-19 pandemic, his race (African-American), his age, and his health conditions (benign tumor

of the right humerus (upper right arm), high cholesterol, high blood pressure, peripheral vascular

disease (including bypass surgery in 2004), cataracts, glaucoma, gastro-esophageal reflux disease,

osteoarthritis of the knee and a lump in his breast). He argues that these factors, individually and in

combination, place him at an unacceptably high risk of contracting COVID-19 and suffering serious

consequences from that disease. He points out that he was unable to complete his GED and never

received drug treatment while in prison. He argues that if he was unable to benefit from such

rehabilitative programs in his 26 years of past incarceration, he is unlikely to be able to benefit now

from further rehabilitative prison programing while serving his supervised release sentence. He

believes this will make his 24-month sentence harsher than other such sentenced because it will end

up being purely punitive.

       In response, the Government contends that none of Garrett’s health conditions, either

individually or in combination with the COVID-19 pandemic, are extraordinary or compelling

reasons warranting compassionate release. It notes that these Garrett’s health problems did not

impede him from violating his supervised release conditions in numerous ways and suggests that

Garrett would continue to violate rules were he released now. It further notes that the BOP is

appropriately treating Garrett’s health conditions or, in two cases, that the condition has resolved.

The Government acknowledges racial disparities in health outcomes, but suggests those disparities

are minimized in federal prison where inmates of all races are in the same living conditions and

receive the same medical care irrespective of race. The Government also points to the BOP’s

extraordinary efforts to stem the spread of COVID-19 in its facilities. Finally, the Government

argues that Garrett remains a danger to others and the community in light of his extensive and long-

running criminal history, including his multiple supervised release violations only six months after
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his release. The Government has not invoked exhaustion of remedies as a defense so has waived

that argument.

       As for the defendant’s physical condition, the Court does not dispute that he suffers from

serious health conditions and an advanced age that may amount to extraordinary and compelling

reasons for compassionate release in combination with the risk from the COVID-19 pandemic.

However, it appears Garrett’s medical needs are being appropriately treated in prison, and the BOP

is making extraordinary—although not always successful—efforts to stem the spread of COVID-19.

There is nothing to suggest that, in prison, Garrett is not receiving adequate medical care or is being

inadequately protected from COVID-19 because of, or as an unintended consequence of, his race.

       But even if Garrett’s health problems, his race, his advanced age, and the COVID-19

pandemic were extraordinary and compelling reasons for release, those reasons would not warrant

release in light of the § 3553(a) factors. The Court’s analyses of the § 3553(a) factors at the original

sentencing hearing and at the supervised release hearing continue to apply now. Garrett’s history of

criminal activity is extensive, and he continued to recidivate shortly after given the opportunity. In

addition to being a career offender, he has a history of criminal arrests and convictions from age 18

until his arrest for his federal drug offense. And despite serving 26 years in prison, he returned to

criminal activity within about six months of his release despite his medical infirmities. It is clear

that Garrett did not make substantial progress toward rehabilitation in prison—for whatever

reason—but that fact only increases the likelihood that when released again, he will go back to

breaking the rules. The Court believes the full 24 months of imprisonment for his revocation

sentence are necessary to punish Garrett, to promote respect for the law by Garrett and others, and

to impress upon Garrett an appreciation for the seriousness of his crimes. The community should

not have to bear the burden of his future criminal activities until he has been fully and appropriate

punished for his past ones.
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       As for the COVID-19 pandemic in particular, the Court acknowledges the danger posed to

prisoners who live in close quarters and often cannot practice social distancing. However, the Court

notes that the BOP has been administering COVID-19 vaccines to inmates, see BOP, COVID-19

vaccine implementation, https://www.bop.gov/coronavirus/, which will greatly reduce the threat

from the disease. In fact, it has already fully vaccinated nearly half of the inmates at FCI-La Tuna,

where Garrett is housed. Id.; BOP, FCI La Tuna, https://www.bop.gov/locations/institutions/lat.

Although the Court will not order the defendant released at this time, it strongly recommends he be

given a high priority in the BOP’s vaccination efforts.

III.   Conclusion

       For all of these reasons, the Court DENIES the defendant’s motion for compassionate

release (Doc. 201) but STRONGLY RECOMMENDS the BOP give him high priority for the

COVID-19 vaccine if it has not already done so.

IT IS SO ORDERED.
DATED: May 11, 2021

                                                      s/ J. Phil Gilbert
                                                      J. PHIL GILBERT
                                                      DISTRICT JUDGE




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